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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TRUSTEES OF THE CHICAGO                                 )
REGIONAL COUNCIL OF CARPENTERS                          )
PENSION FUND, et al.,                                   )
                                                        )
                                Plaintiffs,             )      Case 16 cv 9165
                                                        )      Judge Alonso
         v.                                             )
                                                        )
AMERICAN MECHANICAL, INC.,                              )
                                                        )
                                Defendant.              )

                                   JUDGMENT ORDER

         WHEREAS, Plaintiffs motion for summary judgment was granted on March 7,
2019.

         WHEREAS, Plaintiffs attorney fee petition was granted on April 30, 2019.

       NOW THEREFORE, upon application of the Plaintiffs and for good cause shown,
a Judgment is hereby entered against the Defendant in the above styled action; and

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that judgment is
entered on behalf of the Plaintiffs and against the Defendant, American Mechanical,
Inc., in the sum of $79,979.88.

         Further, Plaintiffs are awarded their costs.



ENTERED:


5/6/19                                                  _______________________
                                                        Judge L. Alonso
                                                        United States District Judge
